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   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0081-TLN-1
12                                Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                         STATUS CONFERENCE AS TO DEFENDANT
13                          v.                           JOSE LUIS ROMERO
14   JOSE LUIS ROMERO,                                   Date:     May 2, 2019
                                                         Time:     9:30 a.m.
15                               Defendant.              Judge:    Hon. Troy L. Nunley
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17          This three-defendant1 case is currently set for a status hearing on May 2, 2019. Plaintiff United

18 States of America, through its undersigned counsel, and defendant Jose Luis Romero, through his counsel
                                                                                                2
19 of record, stipulate that the status hearing be continued by one week as to defendant Romero, to May 9,

20 2019, at 9:30 a.m. for a change of plea. A copy of the plea agreement is being filed contemporaneously

21 with this request.

22          Given that the requested continuance is of seven days’ duration, the parties are not requesting that

23 the Court make findings with respect to an exclusion of time under the Speedy Trial Act. See 18 U.S.C.

24 § 3161 et seq.

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27          In addition to defendant Mendez, co-defendants Jose Luis Romero and Salvador Padilla III are
   also charged in the indictment. (Dkt. No. 19.)
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28          The May 2, 2019 status hearing will continue as scheduled as to co-defendant Salvador Padilla.
   Co-defendant Eberardo Mendez will enter a change of plea on May 9, 2019. (Dkt. No. 70.)
      STIPULATION AND ORDER TO CONTINUE STATUS           1
      CONFERENCE RE: DEFENDANT ROMERO
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 1                                                            Respectfully submitted,

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 3 Dated: May 1, 2019                                         _/s/ Timothy H. Delgado____________
                                                              TIMOTHY H. DELGADO
 4                                                            Assistant United States Attorney
                                                              Attorney for Plaintiff United States
 5

 6 Dated: May 1, 2019                                         _/s/ THD for Kresta N. Daly__________
                                                              KRESTA N. DALY
 7                                                            Barth Daly LLP
                                                              Attorney for Defendant Jose Luis Romero
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                                                         ORDER
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             The Court, having received and considered the parties’ stipulation, and good cause appearing
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     therefore, adopts the parties’ stipulation in its entirety as its order.
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             Accordingly, the Court orders that the May 2, 2019 status hearing be continued by one week as
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     to defendant Jose Luis Romero, to May 9, 2019, at 9:30 a.m. for a change of plea. The May 2, 2019
17
     status hearing will continue as scheduled as to co-defendant Salvador Padilla III.
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             SO ORDERED.
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20 Dated: May 1, 2019
                                                                    Troy L. Nunley
21                                                                  United States District Judge
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       STIPULATION AND ORDER TO CONTINUE STATUS              2
       CONFERENCE RE: DEFENDANT ROMERO
